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Information to identify the case:
Debtor 1              Shawn C Cook                                                      Social Security number or ITIN        xxx−xx−7333
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Louisiana                  Date case filed in chapter 13               8/12/19

Case number:          19−10926                                                          Date case converted to chapter 7           1/14/20


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Shawn C Cook

2.      All other names used in the
        last 8 years

3.     Address                               40105 La Rochelle Road
                                             Prairieville, LA 70769

4.     Debtor's attorney                     Greg Gouner                                            Contact phone 225−293−6200
                                             11750 Bricksome
       Name and address                      Ste. C                                                 Email: greggouner@bellsouth.net
                                             Baton Rouge, LA 70816

5.     Bankruptcy trustee                    Samera L. Abide                                        Contact phone (225) 923−1404
                                             Post Office Box 3616
       Name and address                      Baton Rouge, LA 70821                                  Email: slabide@abide−law.com
                                                                                                               For more information, see page 2 >
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Debtor Shawn C Cook                                                                                                                   Case number 19−10926

6.     Bankruptcy clerk's office                                                                                      Hours open:
                                                                                                                      8:30am to 4:00pm
       Documents in this case may be filed at
       this address. You may inspect all                                                                              Contact phone _____________
       records filed in this case at this office
       or online at www.pacer.gov.
                                                                                                                      Date: 1/14/20
7. Meeting of creditors                      February 11, 2020 at 09:30 AM                                            Location:

     Debtors must attend the meeting to      The meeting may be continued or adjourned to a later                     Middle District of Louisiana, 707
     be questioned under oath. In a joint    date. If so, the date will be on the court docket.                       Florida Street, Room 324, Baton
     case, both spouses must attend.
     Creditors may attend, but are not                                                                                Rouge, LA 70801
     required to do so.

8.                       Presumption of abuse                                       The presumption of abuse does not arise.

                         If the presumption of abuse arises, you may have the
                         right to file a motion to dismiss the case under 11
                         U.S.C. § 707(b). Debtors may rebut the presumption
                         by showing special circumstances.

9. Deadlines                                 File by the deadline to object to discharge or to                         Filing deadline: 4/13/20
                                             challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any
     required filing fee by the following    You must file a complaint:
     deadlines.
                                             • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                               subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                             • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4) or (6).

                                             You must file a motion:
                                             • if you assert that the discharge should be denied under § 727(a)(8) or (9).

                                             Deadline for all creditors to file a proof of claim                       Filing deadline: 3/24/20
                                             (except governmental units):
                                             Deadline for governmental units to file a proof of                        Filing deadline: 7/13/20
                                             claim:

                                             Deadlines for filing proof of claim:
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                             not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                             that the debtor filed.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                             claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                             example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                             right to a jury trial.


                                             Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                             The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                             believe that the law does not authorize an exemption claimed, you
                                             may file an objection.

10. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                   asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                              United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's               The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                   property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                         some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                              ensure you receive any share of that money, you must file a proof of claim as described
                                              above.
12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                              sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                              may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                              believe that the law does not authorize an exemption that the debtors claim, you may file an
                                              objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                              to exemptions in line 9.
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